                          UNITED STATES DISTRICT COURT
                            DISTRICT OF RHODE ISLAND

NATIONAL LIABILITY & FIRE INSURANCE CO. :
                                        :
                 and                    :
                                        :
BOAT OWNERS ASSOCIATION OF THE          : Civil Action No: 17-38-S-PAS
UNITED STATES                           :
                                        : In Admiralty
                 Plaintiffs,            :
                                        :
     v.                                 :
                                        :
NATHAN CARMAN                           :
                                        :
                 Defendant.             :


                      PLAINTIFFS’ STATEMENT REGARDING
                     DEFENDANT’S PRE-TRIAL MEMORANDUM

       Claiming an August 24, 2018 court deadline for the filing of pre-trial memoranda

in this case, Defendant Nathan Carman disingenuously filed his a day afterwards. In it

he claims “we are now three months past the expert disclosure deadline and Plaintiffs

have not disclosed a single expert witness which they intend to call at trial.” ECF No. 80

at 3-4. His premise is wrong because discovery delays in this case are solely his doing.

       In the Court’s March 30, 2018 Order, ECF No. 59, Nathan Carman’s fact

deposition was ordered resumed and a new pre-trial schedule was set, with factual

discovery to close by April 27, Plaintiffs’ expert disclosures by May 18, with other

deadlines thereafter, id. at 7. However, Nathan Carman delayed his deposition

resumption and dragged this case out by objecting to that Order, ECF No. 61, with

Plaintiffs’ opposition also due April 27, 2018 in which we timely renewed our motion to

extend court deadlines so that Nathan Carman’s deposition could be completed, ECF
No. 64 at 8.

       After Chief Judge Smith denied Nathan Carman’s objection on June 29 his

deposition was resumed July 17, 2018 and is still not completed. This was all brought

to the Court’s and Defendant’s attention on July 19, 2018 in Plaintiffs’ status report

when we reported we had just subpoenaed Shooters Outpost for more fact discovery

(which Defendant did not oppose), noting “The parties also need a new fact discovery

completion date and a corresponding extension of other deadlines.” ECF No. 67; see

also ECF No. 71 at 13 (fourth motion to compel brief).

       In sum, Defendant’s claim that any court deadlines have passed is belied by his

own fact deposition resumption which was affirmed by the June 29, 2018 Text Order

two months after a fact discovery deadline he made obsolete. Until after the completion

of Nathan Carman’s deposition which is crucial fact discovery, and which he himself

solely delayed, Plaintiffs will be unable to disclose their experts’ opinions.

               RESPECTFULLY SUBMITTED August 28, 2018.

                                                  PLAINTIFFS

                                                  /s/ David J. Farrell, Jr.
                                                  David J. Farrell, Jr.
                                                  Pro Hac Vice
                                                  Liam T. O’Connell
                                                  Pro Hac Vice
                                                  Farrell & Smith LLP
                                                  2355 Main Street, P.O. Box 186
                                                  South Chatham, MA 02659
                                                  508.432.2121 x 15
                                                  sealaw@live.com

                                                  /s/ Sean T. O’Leary
                                                  Sean T. O’Leary (#6035)
                                                  O’Leary Murphy, LLP




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                                                           4060 Post Road
                                                           Warwick, RI 02886
                                                           401.615.8584
                                                           sto@olearymurphy.com


CERTIFICATE OF SERVICE
I hereby certify that on August 28, 2018 I filed this statement via
the CM/ECF System, through which a copy will be electronically
delivered to Attorneys Anderson and Humphrey.

        /s/ David J. Farrell, Jr.




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